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                          IN THE UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION


 CAMELBAK PRODUCTS, LLC,

          Plaintiff,                                             Civil Action No.: 1:20-cv-01543

 v.                                                              Judge John J. Tharp, Jr.

 THE PARTNERSHIPS AND UNINCORPORATED                             Magistrate Judge Sheila M. Finnegan
 ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

          Defendants.


                                    NOTICE OF DISMISSAL

         Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff hereby files this Notice of Voluntary

Dismissal, without prejudice, as to the following Defendant(s) identified on Schedule A of the

Complaint:

                 NO.                                    DEFENDANT
                  6                                        uktoper
                 128                                      didustore
                 104                                       aotoper


DATED: June 21, 2020                          Respectfully submitted,

                                                      /s/ Keith A. Vogt
                                                      Keith A. Vogt (Bar No. 6207971)
                                                      Keith Vogt, Ltd.
                                                      111 West Jackson Boulevard, Suite 1700
                                                      Chicago, Illinois 60604
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                                                      E-mail: keith@vogtip.com

                                                      ATTORNEY FOR PLAINTIFF
    Case: 1:20-cv-01543 Document #: 39 Filed: 06/22/20 Page 2 of 2 PageID #:3983




                                 CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true and correct copy of the above and foregoing
document was electronically filed on June 21, 2020 with the Clerk of the Court using the CM/ECF
system, which will automatically send an email notification of such filing to all registered attorneys
of record.

                                                      /s/ Keith A. Vogt
                                                      Keith A. Vogt
